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                      UNITED STATES DISTRICT COURT
                                FOR THE
                         DISTRICT OF NEW JERSEY
  EDWARD HENDREX,                                 )
                                                  )
                         Plaintiff,               )
                                                  )
         v.                                       ) Case No.: 3:16-cv-01692-PGS-TJB
                                                  )
  DIVERSIFIED CONSULTANTS, INC.,                  )
                                                  )
                         Defendant.               )
                                                  )

                                STIPULATION TO DISMISS

  TO THE CLERK:

         Pursuant to Rule 41(a)(1)(A)(ii), counsel for all parties hereto stipulate to the

  dismissal with prejudice and without cost to either party.


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  Date: May 19, 2016                              Date: May 19, 2016



                                        BY THE COURT:



                                        _________________________
                                                                J.
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                                   Certificate of Service

         I hereby certify that I have served a copy of the foregoing document by Notice of
  Electronic Filing on this 19th day of May, 2016:

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